           Case 5:05-cv-01156-FB Document 78 Filed 06/24/20 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

DARLIE LYNN ROUTIER,                              §
                                                  §
                       Petitioner,                §
                                                  §           CIVIL NO. SA-05-CA-1156-FB
v.                                                §
                                                  §          * DEATH PENALTY CASE *
                                                  §
LORIE DAVIS, Director,                            §
Texas Department of Criminal Justice,             §
Correctional Institutions Division,               §
                                                  §
                       Respondent.                §

                            ORDER APPOINTING CO-COUNSEL

         Pending before the Court is petitioner Darlie Lynn Routier’s unopposed motion for

appointment of co-counsel filed June 22, 2020. (ECF No. 77). Petitioner’s current lead counsel,

Richard Burr, filed this motion on petitioner’s behalf requesting the appointment of qualified co-

counsel to assist in representing petitioner in the instant proceedings. Specifically, counsel requests

that Jeremy Schepers of the Federal Public Defender (FPD) for the Northern District of Texas be

appointed as counsel in the instant proceedings. Counsel contends that FPD maintains a Capital

Habeas Unit that specializes in § 2254 cases, and will not require any funding from this Court for

attorney fees, investigation funding, or any other expenses.

       Having reviewed the motion, the Court finds that petitioner is entitled to the appointment of

co-counsel by the provisions of 18 U.S.C. § 3599(a)(2). See McFarland v. Scott, 512 U.S. 849, 855-

58 (1994). The Court further finds that Mr. Schepers possesses the background, knowledge, and

experience to enable him to represent petitioner with due consideration to the seriousness of the

possible penalty and the unique and complex nature of the litigation, and is qualified and willing to

accept this appointment as counsel.
          Case 5:05-cv-01156-FB Document 78 Filed 06/24/20 Page 2 of 2




       Accordingly, it is hereby ORDERED that petitioner’s unopposed motion for appointment

of co-counsel, filed June 22, 2020 (ECF No. 77), is GRANTED, and attorney Jeremy Schepers of

the Northern District of Texas FPD is appointed as co-counsel for petitioner herein.

       It is further ORDERED that attorney Jeremy Schepers file a motion for admission pro hac

vice in compliance with Local Rule AT-1(f)(2) within ten (10) days of this Order.

       It is so ORDERED.

       SIGNED this 24th day of June, 2020.



                                    _________________________________________________
                                      FRED BIERY
                                      UNITED STATES DISTRICT JUDGE




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